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12                                 UNITED STATES DISTRICT COURT
13                        FOR THE NORTHERN DISTRICT OF CALIFORNIA
14
                                           SAN JOSE DIVISION
15

16    NATIONAL ASSOCIATION FOR GUN                       Case No. 5:22-cv-00501-BLF
      RIGHTS, INC., a non-profit corporation, and
17    MARK SIKES, an individual,                         ADMINISTRATIVE MOTION TO
18                                                       CONSIDER WHETHER CASES
                           Plaintiffs,                   SHOULD BE RELATED UNDER CIVIL
19                                                       LOCAL RULES 3-12 AND 7-11
             v.
20
      CITY OF SAN JOSE, a public entity,
21    JENNIFER MAGUIRE, in her official capacity
22    as City Manager of the City of San Jose, and the
      CITY OF SAN JOSE CITY COUNCIL,
23
                           Defendants.
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     Administrative Motion to Relate Cases under Civil Local Rules 3-12 and 7-11
     Case No. 5:22-cv-00501-BLF                                                          1
            Case 5:22-cv-00501-BLF Document 40 Filed 04/19/22 Page 2 of 5




 1          Pursuant to Civil Local Rules 3-12(b) and 7-11, Defendant City of San Jose (“City”) files this

 2   Administrative Motion to Consider Whether Cases Should Be Related. The City submits that the action

 3   entitled Howard Jarvis Taxpayers Association, et al. v. City of San Jose, Case No. 5:22-cv-02365-NC

 4   (“HJTA”) (Notice of Removal filed April 15, 2022) is related to the instant action, National Association

 5   for Gun Rights, Inc., et al. v. City of San Jose, et al. (“NAGR”), Case No. 5:22-cv-00501-BLF

 6   (Complaint filed January 25, 2022). See Decl. of Tamarah P. Prevost (“Prevost Decl.”), Ex. 1 (copy of

 7   the operative First Amended Complaint in the NAGR action); id., Ex. 2 (copy of the Notice of Removal

 8   in the HJTA action, which includes a copy of the underlying complaint).

 9          Civil Local Rule 3-12(a) provides that an action is related to another when: “(1) The allegations

10   concern substantially the same parties, property, transaction or event; and (2) It appears likely that there

11   will be an unduly burdensome duplication of labor and expense or conflicting results if the cases are

12   conducted before different Judges.” These criteria are met here. The two actions involve substantially

13   the same parties (i.e., the City is the lead defendant in both actions), as well as the same transaction or

14   events. Specifically, the plaintiffs in both the above-referenced actions similarly bring a pre-

15   enforcement challenge to the same firearm-related San Jose ordinance, San Jose Municipal Code

16   Section 10.32.200 et seq. (“Ordinance”), under the First, Second, and Fourteenth Amendments to the

17   U.S. Constitution, Article XIII C § 1 of the California Constitution, and other state laws.

18          Given that both actions concern substantially the same parties, the same Ordinance, and

19   substantially the same legal arguments and claims, there will be an unduly burdensome duplication of

20   labor and expense, judicial resources, and potentially inconsistent results, if the two actions were to be

21   conducted before different Judges. Accordingly, relating the HJTA and NAGR actions will serve the

22   interests of judicial economy and avoid the potential for conflicting results, consistent with Civil Local

23   Rules 3-12(a). Plaintiffs in the NAGR action do not dispute, and have agreed to stipulate, that these

24   cases are related. Counsel for HJTA “decline [Defendants’] invitation to stipulate” that the two cases

25   should be related. Prevost Decl. ¶ 4.

26          For these reasons, San Jose respectfully requests that this Court enter an order relating Howard

27   Jarvis Taxpayers Association, et al. v. City of San Jose, Case No. 5:22-cv-02365-NC, with National

28   Association for Gun Rights, Inc., et al. v. City of San Jose, et al., Case No. 5:22-cv-00501-BLF.
     Administrative Motion to Relate Cases under Civil Local Rules 3-12 and 7-11
     Case No. 5:22-cv-00501-BLF                                                                               1
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 1
      Dated: April 19, 2022                            Respectfully submitted,
 2

 3                                                     COTCHETT, PITRE & McCARTHY, LLP

 4
                                                       By:    /s/ Tamarah P. Prevost
 5                                                            Joseph W. Cotchett
                                                              Tamarah P. Prevost
 6                                                            Andrew F. Kirtley
 7                                                            Melissa Montenegro

 8                                                     Attorneys for Defendant City of San Jose

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     Administrative Motion to Relate Cases under Civil Local Rules 3-12 and 7-11
     Case No. 5:22-cv-00501-BLF                                                                   2
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 1                                     CERTIFICATE OF SERVICE

 2          I am employed in San Mateo County, California, and I am over the age of 18 years and not a

 3   party to this action. My business address is the Law Offices of Cotchett, Pitre & McCarthy, LLP, 840

 4   Malcolm Road, Burlingame, California, 94010. On this day, I served the following document(s) in the

 5   manner described below:

 6            ADMINISTRATIVE MOTION TO CONSIDER WHETHER CASE SHOULD
 7              BE RELATED PURSUANT TO CIVIL LOCAL RULES 3-12 AND 7-11

 8
      ✓     BY MAIL: I am readily familiar with this firm’s practice for collection and processing of
 9          correspondence for mailing. Following that practice, I placed a true copy of the aforementioned
            document(s) in a sealed envelope, addressed to each addressee, respectively, as specified below.
10          The envelope was placed in the mail at my business address, with postage thereon fully prepaid,
            for deposit with the United States Postal Service on that same day in the ordinary course of
11
            business.
12
      ✓     BY E-MAIL: My e-mail address is kdelia@cpmlegal.com and service of this document(s)
13          occurred on the date shown below. This document is being served electronically and the
            transmission was reported as complete and without error.
14

15           Harmeet K. Dhillon                         Attorneys for Plaintiffs: National Association
             Michael A. Columbo                         for Gun Rights, Inc., and Mark Sikes
16           Mark P.Meuser                              (NAGR Action, Case No. 5:22-cv-00501-BLF)
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     Administrative Motion to Relate Cases under Civil Local Rules 3-12 and 7-11
     Case No. 5:22-cv-00501-BLF                                                                          3
           Case 5:22-cv-00501-BLF Document 40 Filed 04/19/22 Page 5 of 5




             Jonathan M. Coupal                           Attorneys for Plaintiffs: Howard Jarvis
 1           Timothy A. Bittle                            Taxpayers Association; Silicon Valley
 2           Laura E. Dougherty                           Taxpayers Association; Silicon Valley Public
             Howard Jarvis Taxpayers Foundation           Accountability Foundation; James Barry; and
 3           921 Eleventh Street, Suite 1201              George Arrington
             Sacramento, CA 95814                         (HJTA Action, Case No. 5:22-cv-02365-NC)
 4           Telephone: (916) 444-9950
             Email: tim@hjta.org
 5

 6

 7          I declare under penalty of perjury, under the laws of the State of California, that the foregoing is

 8   true and correct. Executed at Burlingame, California, on April 19, 2022.

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                                                                  /s/ Kathleen D’Elia
10                                                                    Kathleen D’Elia
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     Administrative Motion to Relate Cases under Civil Local Rules 3-12 and 7-11
     Case No. 5:22-cv-00501-BLF                                                                              4
